              Case 2:22-cv-00360-CFK Document 4 Filed 01/28/22 Page 1 of 1

                        IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF PENNSYLVANIA

CARLA CAIN,                                          :                 CIVIL ACTION
          Plaintiff,                                 :
    v.                                               :
                                                     :
CINDY BASS,                                          :
          Defendant.                                 :                 NO. 22-cv-00360

                                                ORDER

       AND NOW, this 28th day of January 2022, it is hereby ORDERED that counsel

contemplating filing a motion under Fed. R. Civ. P. 12(b)(6), (e), or (f), shall first contact opposing

counsel to discuss the substance of the contemplated motion and to provide an opportunity to cure

any alleged pleading deficiencies or strike certain matter. This conference shall take place at least

seven (7) days before the filing of the motion 1.

       The parties shall conduct substantive verbal communications. Exchanges of letters or e-

mails are insufficient. A report that opposing counsel was not available or that the parties made

reasonable efforts is likewise insufficient. If the parties cannot reach a resolution that eliminates

the need for any of the above-mentioned motions, counsel for the moving party shall include, along

with the motion, a certification that the parties met and conferred regarding the alleged pleading

deficiencies or matter sought to be stricken.

       The Court will deny any 12(b)(6), (e) or (f) motion that fails to conform with these

requirements.

                                                               BY THE COURT

                                                              /s/ Chad F. Kenney

                                                               CHAD F. KENNEY, JUDGE




         1.    Counsel are instructed to refer to Judge Kenney’s Practices and Procedures which are found at:
               http://www.paed.uscourts.gov/judges-info/district-court-judges/chad f kenney.
